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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION



 SIMON GUZMAN,


 v.                                     Case No. 8:04-cr-610-T-24TBM
                                                 8:06-cv-236-T-24TBM


 UNITED STATES OF AMERICA.



                                         ORDER

        This cause is before the Court on Defendant Simon Guzman's motion to vacate, set

 aside, or correct an allegedly illegal sentence pursuant to 28 U.S.C. § 2255 (Doc. cv-1; cr-

 809) and the Government's response to the motion to vacate (Doc. cv-7). Guzman did not

 file a reply to the response. A review of the parties' submissions, the files, records, and

 transcripts in this case demonstrates that, for the following reasons, Guzman's motion to

 vacate must be DENIED.

                                      BACKGROUND

        On April 12, 2005, Guzman was charged, by superseding indictment, with

 conspiracy to possess with intent to distribute and to distribute at least 1000 kilograms of

 marijuana, in violation of 21 U.S.C. §§ 841(b)(1)(A) and 846. (Doc cr-286). On April 26,

 2005, pursuant to a written plea agreement, Guzman pled guilty to conspiracy to possess

 with intent to distribute more than 100 kilograms of marijuana in violation of 21 U.S.C. §§

 846 & 841(b)(1)(B)(vii). (Doc. cr-332 [plea agreement]; cr-831[transcript of plea hearing];

 cr-537 [judgment]). The written plea agreement contained a waiver of appeal that stated:
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               5. Appeal of Sentence -Waiver

                The defendant agrees that this court has jurisdiction and authority to
        impose any sentence up to the statutory maximum and expressly waives the
        right to appeal defendant's sentence or to challenge it collaterally on any
        ground, including the ground that the Court erred in determining the
        applicable guidelines range pursuant to the United States Sentencing
        Guidelines, except (a) the ground that the sentence exceeds the defendant's
        applicable guidelines range as determined by the Court pursuant to the
        United States Sentencing guidelines; (b) the ground that the sentence
        exceeds the statutory maximum penalty; or (c) the ground that the sentence
        violates the Constitution; provided, however, that if the government exercises
        its right to appeal the sentence imposed, as authorized by Title 18, United
        States Code, Section 3742(b), then the defendant is released from his waiver
        and may appeal the sentence as authorized by Title 18, United States Code,
        Section 3742(a).

 (Doc. cr-332 at 12) At the change of plea hearing, the court ensured that Guzman

 understood this provision. (Doc. cr-831 at 32-33).

        On July 28, 2005, the Court sentenced Guzman to fifty-seven months incarceration.

 Judgment was entered that day. (Doc. cr-535). Guzman did not file a direct appeal. On

 February 13, 2006, Guzman timely filed the present motion to vacate.

        Construing Guzman's pro se motion as broadly as possible, Guzman claims that the

 Court erred by 1) accepting his guilty plea without ensuring that he understood the nature

 and consequences of his plea and without ensuring that his plea was voluntary, in violation

 of Fed. R. Crim P. 11 and the Constitution; 2) sentencing him without giving him an

 opportunity to discuss his presentence investigation report (PSR) with his trial counsel; 3)

 failing to award him a reduction in his offense level pursuant to USSG § 3B1.2 for a

 mitigating role in his offense; and 4) failing to award him "safety-valve" relief pursuant to

 USSG § 5C1.2. He also alleges his counsel was ineffective, both as a substantive ground,

 and as an excuse for his procedural default caused by his failure to appeal, alleging that


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 his trial counsel failed to 1) inform him of his right to appeal; 2) discuss with him his PSR;

 and, 3) raise any objection to this Court's alleged errors.

                                   Grounds One and Four

        Specifically, in grounds one and four Guzman alleges that his counsel was

 ineffective and that his plea was involuntary and unknowing. In support he claims that he

 did not have the opportunity to discuss the PSR with his attorney. Guzman alleges that

 because he did not discuss the PSR with his attorney, his due process rights under the

 Fourteenth Amendment were violated and his plea of guilty was not knowing and voluntary.

 He cites Rule 11(a)(2) and Rule 32 [in ground four]. He contends in both grounds that he

 did not raise these issues on direct appeal because his attorney did not advise him that he

 had the right to appeal.

        These claims have no merit. To prevail on a claim alleging ineffective assistance of

 counsel, Guzman must meet the two-part test set forth in Strickland v. Washington, 466

 U.S. 668 (1984). Strickland's two-part test requires Guzman to demonstrate that counsel's

 performance was deficient and "there was a reasonable probability that, but for counsel's

 unprofessional errors, the result of the proceeding would have been different." Id.

 However, if a claim fails to satisfy the prejudice component, the court need not make a

 ruling on the performance component.

                                       Right To Appeal

        After imposing sentence, the Court informed Guzman: "to the extent permitted by

 your plea agreement, you have the right to appeal the sentence that I have just imposed.

 You must file that notice of appeal within ten days or it is waived." (Doc. cr-813 at 42-43).

 Because the Court informed Guzman of his right to appeal and the time he had to appeal,

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 he asserts no viable claim of prejudice stemming from his allegation that his attorney did

 not inform him of his right to appeal.

                   Failure To Review Presentence Report with Attorney

        A review of the sentencing transcript reveals that the Court stated to Guzman: "I

 have in front of me a Present Investigation Report . . . . It has been forwarded to your

 attorney. I have read through it. Have you had an opportunity to go over it with your

 attorney?" (Doc. cr-813 at 9) Guzman, who had been previously sworn, responded "Yes,"

 (Doc. cr-813 at 8-9). Guzman asserts no viable claim of prejudice stemming from his

 alleged inability to view the report; thus any error was harmless. See Peguero v. United

 States, 526 U.S. 23, 224, 27-28 (1999) (no prejudice from violation of Fed R. Crim. P. 32

 when Defendant otherwise aware of right to appeal).

                                          Involuntary Plea

        At the change of plea hearing, the United States Magistrate Judge established that

 Guzman, who was under oath, entered his plea voluntarily and knowingly:

               The Court: Mr. Guzman, anybody promised you anything other than
        what is set out in your plea agreement in order to get you to plead guilty?

               Defendant Guzman: No, sir.

               The Court: Has anybody promised you a particular sentence?

               Defendant Guzman: No, sir.

               The Court: Has anybody threatened you or a member of your family
        in any way in order to get you to plead guilty?

               Defendant Guzman: No, sir.

               The Court: Has anybody forced you or do you feel like you are being
        tricked by anybody into pleading guilty?


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               Defendant Guzman: No, sir.

               The Court: You have been represented here I think by both Ms. Ruiz
        and Mr. Martinez. Do you have any complaints about anything that either
        one of them have done for you?

               Defendant Guzman: No, sir.

 (Doc. cr-831 at 36).

        The United States Magistrate Judge (Doc. cr-831 at 36-51) made the following

 finding:

               Thus, from everything that appears today, Mr. Berlin, Mr. Guzman, Mr.
        Pettus, Mr. Sinkler and Mr. Hill are each entering their pleas freely and
        voluntarily with an understanding of the consequences and I will so find and
        recommend that the case proceed to sentencing.

 (Doc. cr-831 at 51).

        Guzman stated under oath that he was not coerced or induced into entering into the

 plea agreement, that he entered into the agreement of his own free will, that he understood

 the charges against him and the consequences of his plea. Guzman's representations in

 this regard constitute “a formidable barrier in any subsequent collateral proceedings.

 Solemn declarations in open court carry a strong presumption of verity.” Blackledge v.

 Allison, 431 U.S. 63, 73-74 (1977); United States v. Butt, 731 F.2d 75, 80 (1st Cir. 1984)

 ( “[T]he presumption of truthfulness of [defendant's] Rule 11 statements will not be

 overcome unless the allegations in the § 2255 motion AAA include credible, valid reasons why

 a departure from those earlier contradictory statements is now justified.” )

        Guzman's own statements in the record belie his contentions that his plea was not

 voluntary and knowing. See Bradshaw v. U.S., 2005 WL 1669036 *4 (M.D. Fla., July 12,

 2005) (slip opinion) ( “Petitioner cannot circumvent the terms of his plea agreement merely


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 because he does not like the outcome at sentencing.” )(citing U.S. v. Bushert, 997 F.2d

 1343, 1350 (11th Cir.1993). Accordingly, Guzman cannot now claim that the failure to

 review the PSR with his attorney caused him to enter an voluntary plea. Grounds one and

 four do not warrant relief.

                                   Grounds Two and Three

        In ground two, Guzman alleges that he should qualify for a minor role or minimal

 participant role in his case and a reduction of two levels. In ground three, Guzman alleges

 that he qualified for the "safety valve" provision because he provided "truthfully information

 to the government he has also provided the name of the person involved in the offense and

 also because the defendant was not (1) organizer, leader, or supervisor (2) the defendant

 does not have more than one criminal history point (3) the defendant did not use violence

 or credible threats of violence or possess a firearm or other dangerous weapon."

        Grounds two and three are not cognizable under a motion to vacate because

 attacks on the application of the guidelines or on the calculation of a guidelines range

 based on the facts of a particular case generally are not properly addressed in a motion to

 vacate. Burke v. United States, 152 F.3d 1329, 1331-32 (collecting cases); United States

 v. Diaz Clark, 292 F.3d 1310, 1316 N. 4 (11th Cir. 2002) (expressing doubt whether claim

 concerning guidelines misapplication would be cognizable under section 2255 even if not

 successive. Neither of Guzman's guidelines challenges constitute a fundamental defect

 that inherently results in a complete miscarriage of justice [or] an omission inconsistent with

 the demands of fair procedure.

        Furthermore, Guzman waived his right to challenge the Court's guidelines

 calculations in the appeal waiver that was part of his plea agreement. (See above). The

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 Court specifically questioned Guzman about the appeal waiver and confirmed that he

 understood the consequences of that provision. (Doc. cr-831 at 32-33). Thus, Guzman's

 waiver prevents his challenging any sentencing decision that does not fall within one of the

 enumerated exceptions, and none of his challenges do so.

        Irregardless, this Court did not misapply the guidelines. Regarding Guzman's

 assertion that this Court should have granted him a reduction pursuant to USSG § 3B 1.2

 for a mitigating role, the Eleventh Circuit has held that the Defendant who does not move

 for such a reduction at sentencing waives his right to the reduction. United States v. Assef,

 917 F.2d 502, 506 n.4 (11th Cir. 1990); United States v. Hinestroza, 172 Fed. Appx. 978

 (11th Cir. 2006)(unpublished). Guzman did not request a reduction; thus, this Court had

 no duty to analyze a potential reduction under USSG § 3B1.2. Furthermore, the facts in

 Guzman's PSR did not support any mitigating-role reduction. See PSR ¶ ¶ 60-79 (detailing

 roles of Guzman and his many co-conspirators; Guzman and others supplied co-

 conspirator with large quantities of marijuana from Mexico, which Garcia distributed to mid-

 level dealers who in turn sold to lower-level dealers and street-level customers).

        The probation office recommended that Guzman receive no adjustment for his role

 in the offense under USSG §§ 3B1.1 or 3B1.2, but recommended that Guzman receive the

 benefit of the safety-valve provision in USSG § 5C1.2. (PSR ¶ ¶ 88, 119). At sentencing,

 Guzman raised no objections to the probation's recommendations. (Doc. cr-813).

        The Court did not adjust Guzman's guidelines offense level for his role in the

 offense. (Doc. cr-813). The Court did, however, set aside the statutory minimum sentence

 for Guzman's crime and reduced his guidelines range pursuant to USSG § 5C1.2 (Doc. cr-

 813 at 12-13, 40). Therefore, Guzman did receive the benefit of the "safety-valve"

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 provision.

        Therefore, Guzman's assertion that this Court erred in failing to grant relief pursuant

 to USSG §5C1.2 lacks merit, as this Court granted Guzman safety valve relief, and

 Guzman's claim that this court erred in failing to reduce his guidelines range pursuant to

 USSG § 3B1.2 is both waived by his failure to move for such a reduction and unsupported

 by the record at sentencing.

        Finally, any remaining claims of ineffective assistance of counsel have no merit.

 The sentence appeal waiver is enforceable against claims of ineffective assistance of

 counsel at sentencing, because "a contrary result would permit a defendant to circumvent

 the terms of the sentence appeal waiver simply by recasting a challenge to his sentence

 as a claim of ineffective assistance, thus rendering the waiver meaningless." See Williams

 v. United States, 396 F.3d 1340, 1342 (11th Cir.), cert. denied, 126 S. Ct. 246 (2005).

 Therefore, any claim of ineffective assistance of counsel for failing to object to the Court's

 application of the guidelines is waived. See Williams; United States v. Djelevic, 161 F.3d

 104, 107 (2d Cir. 1998) (although "dress[ed] up as a Sixth Amendment claim, defendant

 really is challenging the correctness of his sentence under the guidelines, and, therefore,

 is barred by the plain language of his plea agreement; to allow his claim would be to

 "render [ ] meaningless" such plea agreement waivers).

        Accordingly, the Court orders:

        That Guzman's motion to vacate (Doc. cv-1; cr-809) is denied, with prejudice. The

 Clerk is directed to enter judgment against Guzman in the civil case and to close that case.

        IT IS FURTHER ORDERED that defendant is not entitled to a certificate of

 appealability. A prisoner seeking a writ of habeas corpus has no absolute entitlement to

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 appeal a district court's denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district court

 must first issue a certificate of appealability (COA). Id. “A [COA] may issue AAA only if the

 applicant has made a substantial showing of the denial of a constitutional right.” Id. at §

 2253(c)(2). To make such a showing, defendant “must demonstrate that reasonable jurists

 would find the district court's assessment of the constitutional claims debatable or wrong,”

 Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473,

 484 (2000)), or that “the issues presented were ‘adequate to deserve encouragement to

 proceed further, ’ " Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v.

 Estelle, 463 U.S. 880, 893 n. 4 (1983)). Defendant has not made the requisite showing in

 these circumstances.

        Finally, because Defendant is not entitled to a certificate of appealability, he is not

 entitled to appeal in forma pauperis.

        ORDERED at Tampa, Florida, on July 25, 2006.




 AUSA: Karin B. Hoppmann
 Pro se: Simon Guzman




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